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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

UNITED STATES                           *
                                        *
     v.                                 *      CRIM. NO. 19-cr-0877 (CCC)
                                        *
Matthew Brent Goettsche, et al.         *
                                        *
                                      *****
 ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING
                                FOR F5<(+($5,1*

        In accordance with Standing Order 2020-06, this Court finds:

  ✔      That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

  ✔      That the proceeding(s) to be held today cannot be further delayed without serious harm

to the interests of justice, for the following specific reasons:


               COVID-19 Pandemic restrictions in New Jersey


Accordingly, the proceeding(s) held on this date may be conducted by:
   ✔      Video Teleconferencing

          Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

                  The Defendant (or the Juvenile) is detained at a facility lacking video

        teleconferencing capability.

                  Other:




Date:    9/15/2020                                                 Honorable Claire C. Cecchi
                                                                   United States District Judge
